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                                 UNITE STATES BANKRUPTCY COURT
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IN RE:                                                                            a       N . :
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DANNY L. MONK an                  A RI IA L. MONK

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                                                         EXHIBIT C
qPublic.net - Lanier County, GA                                                                                                                                             Page 1 of 2
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                                            Lanier County, GA

 Summary
   Parcel Number                014 0032A35
   Location Address             14 CYPRESS TRL
   Legal Description            LL 494 LD 10 BANKS LAKE POINTE
                                (Note: Not to be used on legal documents)
   Class                        R3-Residential
                                (Note: This is for tax purposes only. Not to be used for zoning.)
   Zoning                       AG
   Tax District                 UNINCORPORATED - 01 (District 01)
   Millage Rate                 32.676
   Acres                        1.28
   Neighborhood                 BANKS LAKE POINTE (000003)
   Homestead Exemption          No (S0)
   Landlot/District             494 / 10
   Water                        N/A
   Sewer                        N/A
   Electric                     N/A
   Gas                          N/A
   Topography                   N/A
   Drainage                     N/A
   Road Class                   N/A
   Parcel Road Access           N/A

   View Map

 Owner
   MONK DANNY L & PATRICIA L
   1425 RILA ST SE
   PALM BAY, FL 32909

 Land
    Type                    Description                                 Calculation Method                   Square Footage                Frontage    Depth         Acres      Lots
    Residential             BANKS LAKE POINTE                           Lot                                  0                             0           0             1.28       1


 Residential Improvement Information
   Style                             One Family
   Heated Square Feet                1930
   Interior Walls                    Sheetrock
   Exterior Walls                    Aluminum/Vinyl Siding
   Foundation                        Piers
   Attic Square Feet                 0
   Basement Square Feet              0
   Year Built                        2006
   Roof Type                         Asphalt Shingles
   Flooring Type                     Carpet/Tile
   Heating Type                      Central Heat/AC
   Number Of Rooms                   0
   Number Of Bedrooms                0
   Number Of Full Bathrooms          2
   Number Of Half Bathrooms          0
   Number Of Plumbing Extras         3
   Value                             $127,600
   Condition                         Average


 Accessory Information
    Description                                   Year Built                       Dimensions/Units                             Identical Units                       Value
    *SEPTIC ONLY                                  2006                             1x1 / 1                                      1                                     $2,000


 Sales
    Sale Date         Deed Book / Page      Plat Book / Page      Sale Price Reason                                       Grantor                          Grantee
    6/30/2006         165 122               A 131J                $181,379 Fair Market Value                              AVM CONSTRUCTION INC             MONK DANNY L & PATRICIA L
    11/10/2005        156 478               A 131J                $210,000 MULTIPLE PARCELS INVOLVED IN SALE              PALM BREEZE DEVELOPMENT          AVM CONSTRUCTION INC


 Valuation
                                                                                                         2018                       2017                   2016                      2015
         Previous Value                                                                               $157,100                $162,300                $162,500                 $169,400
         Land Value                                                                                    $27,500                 $27,500                 $27,500                  $27,500
    +    Improvement Value                                                                            $127,600                $127,600                $133,100                 $133,100
    +    Accessory Value                                                                                $2,000                  $2,000                  $1,700                      $1,900
    =    Current Value                                                                                $157,100                $157,100                $162,300                 $162,500


 Photos




                                                                                                                                                           EXHIBIT D
https://qpublic.schneidercorp.com/Application.aspx?AppID=750&LayerID=11786&PageT... 3/25/2019
qPublic.net - Lanier County, GA                                                                                                                                            Page 2 of 2
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 Sketches




  No data available for the following modules: Rural Land, Conservation Use Rural Land, Commercial Improvement Information, Mobile Homes, Prebill Mobile Homes, Permits.

 The Lanier County Assessor makes every effort to produce the most accurate information possible. No warranties, expressed or implied are provided                Developed by
 for the data herein, its use or interpretation. The assessment information is from the last certified tax roll. All other data is subject to change.

 Last Data Upload: 3/25/2019 2:34:54 AM                                                                                                      Version 2.2.6




                                                                                                                                                         EXHIBIT D
https://qpublic.schneidercorp.com/Application.aspx?AppID=750&LayerID=11786&PageT... 3/25/2019
